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                   UNITED STATES BANKRUPTCY COURT
                    EASTERN DISTRICT OF LOUISIANA
 In re:                            )
                                   )  Case No. 20-10846
 THE ROMAN CATHOLIC CHURCH OF      )
 THE ARCHDIOCESE OF NEW ORLEANS )     Section “A”
                                   )
           Debtor.                 )  Chapter 11


                              DECLARATION OF JON R. CONTE, Ph.D.

         I, Jon R. Conte, Ph.D., submit the following declaration as my testimony in this matter

 and state, under penalty of perjury, the following:

         1.       I am an individual over the age of 21 years and suffer no disability that would

 interfere with my ability to testify truthfully to the matters set forth herein.

         2.       I am a Professor Emeritus in the School of Social Work at the University of

 Washington in Seattle, Washington and Director of the Joshua Center on Child Sexual Abuse

 Prevention at the University. My academic Curriculum Vitae is attached to this declaration.

         3.       I have almost four decades in the study of childhood sexual abuse, am published

 in that area and have trained multidisciplinary audiences on various aspects of childhood sexual

 abuse, including issues in forensic practice nationally and internationally.

         4.       Over the course of my career, I have served on a Panel on Child Abuse and

 Neglect at the National Academy of Sciences; on a research review committee at the National

 Institute of Mental Health; was the founding President of the American Professional Society on

 the Abuse of Children; was on the Board of Councilors of the International Society for the

 Prevention of Child Abuse and Neglect; and served on State and local committees in Illinois,

 Washington, and Kentucky.




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          5.      I maintained a small private clinical practice specializing in the treatment of

 children, youth, and adults with histories of child sexual abuse first in Chicago and then in

 Seattle after returning to Seattle in 1990. I have evaluated literally thousands of child, youth and

 adult victims of childhood sexual abuse who allege harms and damages resulting from childhood

 sexual abuse from the mid-1980s to the present.

          6.      I have testified as an expert over one hundred and sixty times in Washington,

 Oregon, California, Arizona, Colorado, Nebraska, New Hampshire, Florida, South Carolina, and

 British Columbia Canada. I have previously served as an expert to Creditors’ Committees in the

 Bankruptcies of the Archdioceses of Portland and Milwaukee, and in the Boy Scouts of America.

 A partial list of my expert testimony is attached as Appendix 1 to my Curriculum Vitae.

          7.      I am the Editor of the Journal of Interpersonal Violence and the journal Trauma,

 Violence, and Abuse. I am generally aware of the research on various aspects of childhood

 sexual abuse. I have coauthored four manuscripts in the last 12 months. All manuscripts have

 been based on a review of extensive research on various issues surrounding childhood sexual

 abuse.

          8.      I have been retained by the Official Committee of Unsecured Creditors (the

 “Committee”), subject to Court approval, in this matter to provide expert testimony of various

 aspects of the current matter.

          9.      I have reviewed the Ex Parte Motion for an Order Establishing Deadlines for

 Filing Proofs of Claims; Approving Proof of Claim Form; and Approving Form and Manner of

 Notice Thereof (the “Bar Date Motion”) filed on July 1, 2020 by the Roman Catholic Church of

 the Archdiocese of New Orleans (the “Archdiocese” or the “Debtor”). I have also reviewed the




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 Committee’s preliminary opposition to the Bar Date Motion and the Committee’s proposed

 alternative forms of order, notice and abuse proof of claim.

         10.      The opinions I have reached regarding the Bar Date Motion and the effectiveness

 of the notice and claim procedures proposed therein summarized below are based on well-

 established facts about the nature of childhood sexual abuse, its impact on child victims when

 they become adults, the complexity of the processes involved in individuals making a connection

 between historical events such as abuse and the ultimate injury, and the nature of abuse by

 Catholic priests and its impact on victims.



 Opinion I. The Bar Date Notice Period Proposed by the Debtor is Not Sufficient.

         11.      Less than three months’ notice for the filing of claims, is insufficient. It

 establishes an unrealistic, too short in the future date, which does not allow an adult survivor of

 childhood abuse enough time to consider the potential emotional and other impacts of and

 ultimately filing a claim. It also does not take into account lead time that it may take to

 implement a fulsome notice program, as further discussed below.

         12.      Survivors of abuse are reluctant to disclose their abuse. The research is clear.

 Delay in disclosure is the norm with only thirty percent of child victims I have studied disclosing

 immediately. It is well known that most child victims do not disclose until adulthood, often well

 into adulthood and often even in adulthood disclosure is a difficult and emotionally complex

 process. Reasons for that are often multiple and there may be more than one reason for

 reluctance to disclose abuse operative in any given survivor’s experience. My evaluation of

 child and adult survivors indicates that reasons for non-disclosure include: fear of the

 consequences of reporting, stigma associated with being a victim, protecting aging parents who




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 did not know or protect the survivor when the abuse was taking place, not wanting partners or

 children to know about the abuse or the survivor’s own avoidance of the pain associated with

 memories of the abuse, psychological defenses including denial, dissociation, and other internal

 defensive process which protect the individual from the pain and distress associated with the

 memories of abuse or maladaptive coping such as substance abuse which also keeps painful

 memories and feelings out of awareness.

         13.      For a Survivor, the act of knowing that he or she was abused, being willing to

 identify as an abuse survivor, and deciding to take some action is difficult and complex. As is

 generally understood, disclosure is not a single step but rather a process. Once a claimant has

 received the notice it is likely that for many it will take a period of reflection. That reflection

 will include the difficult and painful process of weighting the reasons that they have not

 previously disclosed or identified themselves as a victim, and considering the implications and

 enormously significant consequences of completing the Proof of Claim.

         14.      In addition, it is important to recognize the fact of COVID-19, which is a source

 of worry and preoccupation, is likely to take mental energy away from the survivor’s decision

 making process about filing a claim. I have had contact with several prior clients who report that

 the isolation and fear of social distancing has triggered abuse memories and feelings. This time

 has caused many people to alter how they work and live and what they think about. Therapists

 have switched clients to video or phone therapy.       Millions of Americans including probably

 some who are claimants are unemployed and preoccupied with how they are going to feed their

 families.

         15.      Given these concerns I can see no reason to further abuse Survivors by not

 allowing a reasonable time period after they receive notice to reflect seriously and make a




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 decision which one way or the other is likely to have a significant impact on their lives. The

 March 31, 2021 bar date proposed by the Committee is a reasonable and fair time period

 assuming the Notice plan is revised to increase targeting of creditors.



 Opinion II.      An effective notice process should directly target known and ascertainable

 claimants.

         16.      The search for claimants may be general and non-targeted or targeted. A targeted

 search is one that takes the names of individuals who were in institutions, organizations, or

 parishes where known pedophile priests worked and lived. A targeted means of notice directs

 notice efforts and resources to individuals who have a higher potential of having a claim than

 those in large general populations. Non-targeted efforts publish notice to the general population

 with a large number of people who may not have lived in areas or attended institutions,

 organizations, or parishes where pedophile priests worked or lived. Non-targeted publication

 processes are akin to looking for the needle in a haystack. Targeted processes are akin to looking

 in an area of the haystack where the needle was dropped.

         17.      A targeted notice procedure has a greater chance of reaching claimants. The Bar

 Date Motion proposes to serve notice of the bar date on persons who filed or threatened to file

 lawsuits that allege they were abused, and on persons who have contacted the Debtor to report

 that they were abused whether or not the abuse was considered substantiated. Debtor has the

 names of parish families and children who attended parish schools, church camps and other

 facilities and likely has personally identifying information that can be used to obtain current

 addresses. In particular, they have this information and they also have information where a

 pedophile Priest or other adult for whom the Archdiocese is responsible was abusing children;




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 these families and individuals should be targeted for notice. Identifying the cumulative lists of

 alumni of schools, parishes, and other organizations/facilities where accused and known

 pedophile priests lived and worked is what I would call a targeted notice. This targeted notice

 effort allows Debtor to invest in a notice process which in fact has a high potential of contacting

 claimants and avoids providing notice which either goes unnoticed by claimants (e.g. because it

 is lost in the overload of the current information explosion) or is noticed by individuals who have

 no claim.

         18.      The importance of identifying families and children who attended organizations

 and facilities where known pedophile priests lived and worked cannot be overlooked in seeking

 to identify claimants. Far from being an impulsive act by offenders, sexual abuse of children is

 most typically undertaken by individuals who have long histories of practicing their

 predilections, identifying vulnerable children, and repeatedly using their power to abuse multiple

 children. In my experience evaluating victims of those in religious life, never have I seen a case

 where only one child is known to have been abused by an offender. These offenders take efforts

 to use their position of power and authority and the significant role they play in family and

 community life to form relationships with adults who would otherwise protect children, to lull

 the adults into believing that their children are safe with the offender; and by using their position,

 authority and the relationship with the child to gain sexual access to the child and maintain

 secrecy.



 Opinion III. Direct Notice and Cued Recall are Likely to Increase Responses.

         19.      Fair notice requires that first the claimant be in fact exposed to the notice. Then it

 requires that the claimant identify himself as a person belonging to the group of people for whom




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 the notice is intended. Then the individual must realize whether s/he in fact experienced abuse

 and that s/he has been harmed by it (i.e. that it did in fact cause problems in his/her life), and in

 order to do any of this s/he must be able to overcome the natural avoidance and defense

 mechanisms which has afforded a feeling of protection over a lifetime from dealing with the pain

 and negative effects of the abuse. Finally, s/he has to come to a decision that making a claim will

 outweigh all the negative costs (e.g., feelings of guilt or shame, or demands on psychological

 energy and time) of acknowledging and being identified as a victim of childhood sexual abuse.

 Notice must be sufficiently powerful, frequent, and culturally and psychologically sensitive so as

 to overcome the damage done by the abuse that serves to make claimants avoidant, unaware, or

 reluctant to disclose; otherwise it will fail to trigger the remembering or identifying of relevant

 experiences.

         20.      When sexual abuse is perpetrated by a person in authority, especially God's

 representative on earth in the person of the Catholic priest, the child is unable or unwilling to tell

 others about the abuse. In some cases the priest who has abused the child has then instructed the

 child to make a confession to him for the abuse as if the child were the person who had sinned.

 At the same time, occasionally in my evaluation of individuals abused by priests, the individual

 reports having told someone, such as a parent, and not having been believed or having been

 punished for saying such bad things about a man of God. Like all mental skills, denial,

 minimization, avoidance and rationalization become ways that the child victim pushes the sexual

 abuse from conscious memory. Many people I have evaluated report that they did not think about

 the sexual abuse for years, even decades, after the last incident of sexual abuse.

         21.      Stimulated or cued recall is likely to increase responses by Survivors. However,

 cued recall must be comprehensive or it may defeat the purpose. For example, a Survivor who




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 sees a list of pedophile priests that does not include their abuser may question their recollection

 of the abuse or believe that their own credibility will be challenged and thereby be dissuaded

 from filing a claim. The Debtor has listed 57 Archdiocesan clergy in its 2018 Clergy Report

 Regarding Abuse who have been removed from the ministry for an allegation of sexual abuse,

 but intends to also give notice to persons who reported abuse that was not substantiated. The

 Archdiocese should make available the names of all priests and clergy against whom abuse

 claims were made, including pictures of such priests and clergy as they looked at the time of the

 reported abuse, names of specific parishes or schools or other institutions where the Debtor

 knows such priests or clergy were or where numerous allegations have already arisen and the

 time periods over which abuse was likely to have taken place. That information will increase the

 ability of claimants to know what conduct, taken place in what setting, and by which individuals

 is the focus of the notice. For example, one preamble to a notice might read "If you were a

 student at (Name of School) during the years X to Y and had contact with Father W, this

 information may apply to you."

         22.      Debtor proposes to publish the announcement twice in certain local and regional

 newspapers. Certainly small advertisements in newspapers are going to be inadequate. Repeated

 notice in behaviorally specific language will be necessary before claimants understand that it is

 in fact what happened to them in childhood that is being addressed in the notice and provide

 them ample time to overcome resistance to disclosure and to consider the impact of disclosure.

 Non-targeted means of publication such as newspapers or church bulletins and bulletin boards

 are of necessity going to require publication on a more frequent basis and over a longer duration

 before claimants are likely to notice and decide to respond to such notices.          Importantly,

 publication in newspapers is not likely to connect with a large number of claimants. Only a




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 small percentage of the adult population gets information from newspapers.

         23.      The use of websites and direct communication with alumni is a laudable effort

 and should be encouraged. Direct contact via U.S. Mail, email, or social media with these

 alumni individuals and families is likely the most productive, fair, and reliable procedure for

 notice. Notice should include a statement that alumni or their families who do not themselves

 have claims but know of individuals who may have been abused but moved away from the area

 should be encouraged to forward information to those individuals.



         Opinion IV. Considerations of Reasonable Person vs. Average Abuse Survivor

 Standard.

         24.      The notice of bar date for proof of abuse claims has to be powerful and relatively

 persistent for it to come to the awareness or attention, and then be understood, by claimants. It

 can be argued that the claimants in most need of powerful targeted notice are those most

 significantly damaged by the abuse and therefore more likely to suffer symptoms that make

 seeing and understanding the notice most difficult.

         25.      What constitutes fair notice for the average person may not constitute fair notice

 for a person abused by a priest. As outlined above, the nature of sexual abuse, its impact on the

 individual, abuse by a religious figure to a Catholic child in a Catholic family, and the efforts of

 the abused person to manage or defend against the impact of the abuse (e.g. by denying that what

 was done to him/her was in fact "abuse" or the use of drugs to obliterate memories of the abuse)

 makes the position of the abuse survivor unlike that of a reasonable average person. In my expert

 opinion, the standard is not that of an average person but rather the typical abused person.

 Accordingly, the question of fair notice should be addressed in the context of the unique needs of




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